
PER CURIAM.
Anthony Keel appeals his conviction and sentence on sixteen counts. We affirm the conviction without further comment. See Keel v. State, 134 So.3d 1005 (Fla.2012). We affirm the sentence in part, but reverse and remand to correct a sentencing error preserved pursuant to Florida Rule of Criminal Procedure 3.800(b)(2).
The trial court imposed a fine and statutory surcharge as part of a lump-sum oral pronouncement. A trial court errs when it fails to delineate its statutory authority for each discretionary fine or cost imposition, as it denies the defendant the right to be heard. Williams v. State, 845 So.2d 987, 989 (Fla. 1st DCA 2003). The State properly concedes error, and we remand for a new sentencing hearing as to the fines. We affirm the remainder of the sentence.
Accordingly, the judgment of conviction is affirmed and the sentence is reversed *1009and remanded for a new sentencing hearing regarding the fíne and surcharge.
AFFIRMED in part, REVERSED in part, and REMANDED for further proceedings.
DAVIS, LEWIS, and MAKAR, JJ., concur.
